Case 1:20-cv-00599-VSB Document 13 Filed 06/04/20 Page 1 of 3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

x
Rashawa Maveiee Sperver
Plaintiff(s),
No. /JO -CV-_ 394 __ (VSB)
-V-
CASE MANAGEMENT PLAN
Bohan Chua A AND SCHEDULING ORDER
Defendant(s). : Q euite J
x

 

VERNON S. BRODERICK, United States District Judge:

Pursuant to Rules 16-26(f) of the Federal Rules of Civil Procedure, the Court hereby

adopts the following Case Management Plan and Scheduling Order:

1.

All parties [consent / do not consent Ky | to conducting all further proceedings
before a United States Magistrate Judge, including motions and trial, pursuant to 28
U.S.C. § 636(c). The parties are free to withhold consent without adverse substantive
consequences. [If all consent, the remainder of the Order need not be completed at this
time.|

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The parties [have / have not 4 engaged in settlement discussions.
This case [is oh /is not | to be tried to a jury.

Except as provided by Rule 15 of the Federal Rules of Civil Procedure, no additional
parties may be joined without leave of the Court.

Except as provided by Rule 15 of the Federal Rules of Civil Procedure, no additional
causes of action or defenses may be asserted after without leave of the Court.

Initial disclosures pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure shall
be completed no later than Cean plete . [Absent exceptional
circumstances, within 14 days of the ‘date of the parties’ conference pursuant to Rule

26.1

All fact discovery is to be completed no later than else (4.9080 [A
period not to exceed 120 days unless the Court finds that the casé presents unique
complexities or other exceptional circumstances.|

 

The parties are to conduct discovery in accordance with the Federal Rules of Civil
10.

11.

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Case 1:20-cv-00599-VSB Document 13 Filed 06/04/20 Page 2 of 3

Procedure and the Local Rules of the Southern District of New York. The following
interim deadlines may be extended by the parties on consent without application to the
Court, provided that the parties meet the deadline for completing fact discovery set forth
in J 7 above.

a. Initial requests for production of documents shall be served by Cum el é deel

b. Interrogatories shall be served by Com sletecd .

c. Depositions shall be completed by SY 31 ) Joel

i. Absent an agreement between the parties or an order from the Court,
depositions are not to be held until all parties have responded to initial
requests for document production.

ii. There is no priority for depositions by reason of a party’s status as a plaintiff
or a defendant.

iii. Absent an agreement between the parties or an order from the Court, non-
party depositions shall follow initial party depositions.

d. Requests for admissions shall be served no later than “June (4 } 2030

All expert discovery, including disclosures, reporfs, production of underlying documents,
and depositions shall be completed by Sez ae 4 1 d°j0_. [The parties shall
be prepared to describe their contemplated expert discovery and the bases for their
proposed deadlines at the initial conference. |

 

All discovery shall be completed no later than Se gre abe 7 4, Jogo

The Court will conduct a post-discovery conference on at

. [To be completed by the Court.| No later than two weeks in advance of
the conference, the parties are to submit a joint letter updating the Court on the status of
the case, including but not limited to whether either party intends to file a dispositive
motion and what efforts the parties have made to settle the action. If either party
contemplates filing a dispositive motion, the parties should be prepared to discuss a
briefing schedule at the post-discovery conference.

 

Unless otherwise ordered by the Court, the joint pretrial order and additional submissions
required by Rule 6 of the Court’s Individual Rules and Practices shall be due 30 days
from the close of discovery, or if any dispositive motion is filed, 30 days from the Court’s
decision on such motion. This case shall be trial ready 60 days from the close of
discovery or from the Court’s decision on any dispositive motion.
Case 1:20-cv-00599-VSB Document 13 Filed 06/04/20 Page 3 of 3

13. Counsel for the parties propose the following alternative dispute resolution mechanism
for this case:

a. “| Referral to a Magistrate Judge for settlement discussions.

b. Referral to the Southern District’s Mediation Program. [Note that all
employment discrimination cases, except cases brought under the Fair Labor
Standards Act of 1938, 29 U.S.C. § 201 et seq., are designated for automatic
referral to the Court’s Alternative Dispute Resolution program of mediation.
Accordingly, counsel in such cases should select 13(b).]

c. Retention of a private mediator.

The use of any alternative dispute resolution mechanism does not stay or modify any date
in this Order.

14. The parties have conferred and their present best estimate of the length of trial is

SO ORDERED.

Dated:
New York, New York

 

Vernon S. Broderick
United States District Judge
